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                           UNITED STATESDISTRICT COJJRT
                           SOUTHERN DISTRICT OFF/ORIDA
                                     M IA M I DIW SIO N
                               CAS: NO.:1:22-cv-20201-DPG

  BANCOR QROUP lNC.,and STITCHING
  PA RTICU LIER FON D S FR AN EK ER ,
  derivatively on behalfofEA STERN
  NATIONAL BANK,N .A .,

        Plaintiffs,



  GABINA RODRIGUEZ,etal.,

        D efendants.


                                     VER D ICT FO R M

     1. D id D efendantG abina R odriguez breach the fduciary duty ofcare ow ed to Eastern
        NationalB ank thatw as a legalcause ofdam age to the Bank?

                                   YES         NO


     2. Did Defendant Gabina Rodriguez brèach the fduciary duty of Ioyàlty owed to
        Eastern N ationalBank thatw asa Iegalcause ofdAm age to thc Bank?

                                   YES         NO

     3. Did D efendant C arlos R odriguez breach the fiduciary duty of care ow ed to Eastern
        N ationalB ank thatw asa Iegalcause ofdam age to the B ank?

                                  vss7         xo
     4. D id D efendantC arlosR odriguez breach thefiduciary duty ofloyalty ow ed to Eastern
        N ationalB ank thatw asa Iegalcause ofdam age to the B ank?

                                  vss          yo%
I                            .
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         5. Did D efendant K eith Parker breach the fiduciary duty of care ow ed to E astern
            N ationalB ank thatw asa Iegalcause ofdam age to the Bank?
                                                                 '
              ..:                                                     .



                                       vss         xo Z

         6. D id Defendant K eith Parker breach the fiduciary duty of Ioyalty ow ed to E astern
            N ationalB ank thatw asa Iegalcause of dam age to theB ank?

                                      YE S         NO


         7. D id D efendant G ustavo M acias breach the fiduciary duty of care ow ed to Eastern
            N atipnalB ank thatw as a Iegalcause ofdam age to the B ank?
                                      YES          NO W

         8. D id D efendant G ustavo M aciasbreach the llduciary duty ofIoyalty ow ed to Eastern
            N ationalB ank thatw as a legalcause ofdam age to the Bank?

                                      vss          xo W
      Ifyouanswered'
                   YEStoXNY ofQuestions1through8,pleaseanswerQuestion9.Ifyouanswered
      NO toALL ofQuestibns1through 8,pleaseskip to Qpestion 10.
         9. W hatis the totalap ount ofdam age sustained by Eastern N ationalBank because of
             Defendants Gabina Rodriguez,Carlos Rodriguez,Keith Parker and/or Gustavo
             M acias'sbreachtes)offiduciary duty?
                                      $ 8/ o 'o o o =
         10.Did'D efendant L ouis Ferreira breach the fiduciary duty of care ow ed to E astern
            N ationalBank thatw as a legalcause ofdam age to the Bank?

                                      YES          NO Z
         11.Did DefendantLouisFerreira breach ihefiduciary duty ofIoyalty owed toEastern
            N ationalBank thatw asa legalcause ofdam age to the Bank?

                                      YES          NO Z
      lfyou answeredYEStoQuestion 10 or11,proceedtoQuestion 12.IfyouansweredNO toboth
      Questions10 and 11,thisendsyotlrdeliberations,andyourforeperson should sign and datethe
      lastpage oftllisverdictform .
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             12.W hatis the totalam ount of dam age sustained by E astern N ationalBank because of
                 DefendantLouisFerreira'sbreachtes)offiduciaryduty?
                                            $.   .   *
          Y ou have reached the end ofthe verdictform ,and your foreperson should sign and date the last
          page ofthisverdictform .

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          Foreperson'sSignature

          DATE:c/z-7/znzt,(
